Case 2:04-CV-02417-.]DB-STA Document 62 Filed 05/24/05 Page 1 of 4 Page|D 82

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

JOHNNY BEARD, FRED BAKER &
SONS ELECTRIC, INC.,

 

Plaintiffs,
v. No. 04-2417-B/An
BENICORP INSURANCE COMPANY,

Defendant.

 

ORDER DENYING AS MOOT DEFENDANT’S MOTION TO DISMISS
COUNTS TWO THROUGH ELEVEN OF PLAINTIFFS’ COMPLAINT

 

On May 19, 2005, the Defendant, Benicorp Insurance Company ("Benicorp"), filed a
motion pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure to dismiss with
prejudice counts two through eleven of Plaintiffs’ complaint. In an order entered February 25,
2005, this Court granted the same relief now sought by Defendant, that is its motion to dismiss
counts two through eleven of Plaintiffs’ complaint. Following the entry of the February order,
the Plaintiffs moved to amend their complaint, which was granted. Whereupon Plaintiffs filed
their amended complaint on April 21, 2005 . Upon review of that amended complaint, the Court
notes that it only contains two counts. Consequently, no complaint presently exists which would
provide the basis for Defendant’s current request for dismissal The Court would note that the
Defendant also filed on May 19, 2005, a motion to dismiss count two of Plaintiffs’ amended
complaint and all claims asserted by Plaintiff, Fred Baker & Sons Electric, Inc. Consequently,

it appears that Benicorp may have refiled in error its additional motion to dismiss counts two

di

through eleven of Plaintiffs’ complaint.

Case 2:04-CV-O2417-.]DB-STA Document 62 Filed 05/24/05 Page 2 of 4 Page|D 83

Accordingly, because the Court had previously granted Defendant’s motion to dismiss
counts two through eleven of the Plaintiffs’ complaint, the motion seeking that same relief filed
on May 19, 2005 (Docket Entry No. 58) is DENIED AS MOOT.

- ;_~P*`
IT IS SO ORDERED thls day of May, 2005.

dba

UDANIEL BREEN \
NIT D sTATEs DISTRICT JUDGE

 

F TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 62 in
case 2:04-CV-024l7 vvas distributed by faX, mail, or direct printing on
May 27, 2005 to the parties listed.

 

J ames S. Strickland
KUSTOFF & STRICKLAND
44 N. Second St.

Ste. 502

l\/lemphis7 TN 38103

J olin Morris Russell
LAWRENCE & RUS SELL
5050 Poplar Ave.

Ste. l 7 l 7

l\/lemphis7 TN 38157

Alice M. Morical

HOOVER HULL BAKER & HEATH, LLP
ill Monument Circle

Ste. 4400

Indianapolis, lN 46204--098

Andrevv W. Hull

HOOVER HULL BAKER & HEATH, LLP
ill Monument Circle

Ste. 4400

Indianapolis, lN 46204--098

Jirnmy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

l\/lemphis7 TN 38103

Johnny Beard
3641 Millington St.
l\/lemphis7 TN 38127

Gregory C. Brubaker

HOOVER HULL BAKER & HEATH, LLP
ill Monument Circle

Ste. 4400

Indianapolis, lN 46204--098

Case 2:04-cV-O2417-.]DB-STA Document 62 Filed 05/24/05 Page 4 of 4 Page|D 85

Honorable J. Breen
US DISTRICT COURT

